      CASE 0:07-cr-00439-JNE-SRN           Doc. 593     Filed 08/20/08     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,                         Criminal No. 07-439(8) (JNE / SRN)

                     Plaintiff,
                                                  ORDER
       v.

Tobias Tydes Davenport,

                     Defendant.


       The above-entitled matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Susan Richard Nelson dated July 14, 2008. No objections

have been filed to that Report and Recommendation in the time period permitted.

       Based on the Report and Recommendation of the Magistrate Judge, and all of the files,

records and proceedings herein,

       IT IS HEREBY ORDERED that:

       1.     Defendant’s motion to suppress (Doc. No. 569) is DENIED AS MOOT.



DATED: August 20, 2008.

                                           s/ Joan N. Ericksen
                                           Judge Joan N. Ericksen
                                           United States District Court Judge
